     Case 2:90-cv-00520-KJM-DB Document 6646 Filed 04/29/20 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11    RALPH COLEMAN, et al.,                            No. 2:90-cv-0520 KJM KJN P
12                       Plaintiffs,
13           v.                                         ORDER
14    GAVIN NEWSOM, et al.,
15                       Defendants.
16

17                  On April 13, 2020, the Special Master filed a request for appointment of additional

18   staff. ECF No. 6604. The Special Master seeks appointment of Daniel F. Potter, Ph.D., CAIA, to

19   his staff as a data expert. Consistent with the existing compensation structure for the Special

20   Master’s team as an expert Dr. Potter is to be compensated at the rate of two hundred fifty dollars

21   ($250.00) per hour for his work and ninety dollars ($90.00) per hour for travel time, plus

22   reasonable expenses. The Special Master has represented to the court that neither party objects to

23   this appointment.

24                  Pursuant to paragraph B(7) of this court’s December 11, 1995 order and good

25   cause appearing therefore, IT IS HEREBY ORDERED that:

26                  1.      The Special Master’s April 13, 2020 request for appointment of additional

27   staff, ECF No. 6604, is GRANTED; and

28
                                                       1
     Case 2:90-cv-00520-KJM-DB Document 6646 Filed 04/29/20 Page 2 of 2


 1                   2.       The Special Master is authorized to appoint Daniel F. Potter, Ph.D. to
 2   perform the duties set forth in the Special Master’s Request for the Appointment of Additional
 3   Staff and the accompanying memorandum, filed April 13, 2020, and to be compensated at the
 4   rates set forth in this order.
 5   DATED: April 28, 2020.
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         2
